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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

KEVIN WILLIE WILLIAMS,                      )
# 173816                                    )
                                            )
      Petitioner,                           )
                                            )         CIVIL ACTION NO.
      v.                                    )         2:21-CV-749-WHA-JTA
                                            )               [WO]
PATRICE RICHIE JONES, et al.,               )
                                            )
      Respondents.                          )

                                        ORDER

      On November 8, 2021, the Magistrate Judge filed a Recommendation to which no

timely objections have been filed. (Doc. 3.) Upon an independent review of the record and

upon consideration of the Recommendation, it is ORDERED as follows:

      1. The Recommendation (Doc. 3) is ADOPTED.

      2. This case is TRANSFERRED to the United States District Court for the Southern

District of Alabama pursuant to the provisions of 28 U.S.C. § 2241(d).

      DONE on this 3rd day of December, 2021.

                                   /s/ W. Harold Albritton
                                  W. HAROLD ALBRITTON
                                  SENIOR UNITED STATES DISTRICT JUDGE
